Exhibit 1 
                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT


AMERICAN CENTER FOR LAW
AND JUSTICE - NORTHEAST, INC.,                                CIVIL ACTION NO.
          Plaintiff
                                                             3:12-cv-00730 (.JBA)
v.

AMERICAN CENTER FOR LAW AND
JUSTICE, INC., and JAY ALAN SEKULOW
           Defendants.                                       JUNE 10,2012


                          AFFIDAVIT OF WILLIAM G. MADSEN

       I, William G. Madsen, Counsel for Plaintiff in the above-captioned matter, and being

dnly sworn, hereby depose and say:


       1.      I am over the age of 18 and believe in the obligations of an oath.

       2.      The statements made herein are based on my personal knowledge.

       3.      In my initial commnnications with counsel for ACLJ National, Attorney Mary

Qualiana, I informed her that while we did not view the "arbitration clause" to be enforceable for

a number of reasons, my client was nevertheless willing to enter into a mediation with

Defendants to see if an amicable resolution could be reached. Given the unequal financial

footing of our clients, and the fact that Defendant ACLJ National has substantially greater assets

at its disposal in contrast to Plaintiff ACLJ Northeast, I requested that we enter into a more

equitable cost sharing arrangement. Specifically, I proposed a cost sharing arrangement

whereby we would pay 20% and Defendants would pay 80%. I also requested that the mediation

be conducted in COilllecticut so as to minimize the travel expenses and costs associated with

conducting the mediation out of state.
       4.      During my conversations with Ms. Qualiana about mediation, Ms. Qualiana stated

that one of the issues that would have to be addressed from the Defendants' standpoint would be

the Plaintiff's use of the name "American Center for Law and Justice" and that, after July 31,

2012, her clients were adamant that they did not want Plaintiff to continue using that name. On

behalf of my client, I stated that we would agree to make this part of the negotiation at

mediation.

       5.      On April 2, 2012, I received a letter from Attorney Andrew Ekonomou, counsel

for Defendants. A true and accurate copy of said letter is attached hereto as Exhibit A. In said

letter, consistent with Ms. Qualiana's statement regarding Plaintiff's use of the name "American

Center for Law and Justice," Mr. Ekonomou stated as part of a mediation "we would want aJl the

claims and issues that your clients purport to have against ACLJ National to be on the table and

subject to mediation. For example, and subject of course to the ultimate decision of the client,

we would need to talk about who would assume the role of counsel in the Enfield case. We

would require that as part of the disassociation between ACLJ and 'ACLJ Northeast,' Vince

McCarthy cease usage of the name' ACLJ' and of any advertising or promotional materials that

would suggest and affiliation."

       6.      In response to my earlier requests for a more equitable cost sharing and for the

mediation to be conducted, Defendants subsequently refused to agree to conduct the mediation in

Connecticut. AdditionaJly, Defendants, in an email from Attorney Andrew Ekonomou dated

April 6, 2012, stated that they would only agree to a 50/50 split on the mediators' fees, costs, and

expenses. A true and accurate copy of said email is attached hereto as Exhibit B.




                                                 2
       7.      Notwithstanding the inflexibility of Defendants with respect to the fees and

location associated with the mediation, Plaintiff agreed to conduct a mediation at an out of state

location and to split the costs and fees evenly.

       8.      In or about mid-April, 2012, in a follow up telephone conversation among counsel

regarding the mediation, Attorney Ekonomou advised the undersigned that the issue of Plaintiff s

continued use of the name "ACL!" and "American Center for Law and Justice" would not be

part of the mediation process and would have to be dealt with separately.

       9.      Thereafter, on April 27, 2012, I received a "cease and desist" letter from the

Whitelaw Legal Group, demanding that Plaintiff immediately cease and desist from using the

names "ACLJ" and "American Center for Law and Justice," although indicating ACLJ National

would consider "grant[ing]" a winding down period to allow for the complete cession of use, up

to thirty (30) days from the above date of this correspondence." The letter also stated that "the

legal services which have in the past been offered by your client pursuant to this permission have

now concluded." (emphasis added) A true and accurate copy of this letter is attached hercto as

Exhibit C.

       10.     On May 3, 2012, 1received a copy ofa letter which Attorney Ekonomou sent to

John Gallacher, Superintendent of the Enfield Public Schools. On information and belief: the

letter was electronically transmitted directly to Mr. Gallacher by Mr. Ekonomou on April 30,

2012, four days before it was received by the undersigned. A true and accurate copy of said

letter is attached hereto as Exhibit D.

       11.     In a May 14, 2012 teleconference between the undersigned, Ms. Qualiana, Mr.

Ekonomou, and 1. Birch Bowdre, a Birmingham Alabama attorney who was identified as a




                                                   3
potential mediator, Mr. Bowdre indicated that his hourly rate was $365, but that a "conciliation"

could potentially be conducted at a rate falling in the range of $280 to $300 per hour.

       12.     In view of the above actions and statements of Defendant, Plaintiff ACLJ

Northeast filed a Complaint seeking preliminary injunctive relief. The undersigned advised

counsel for Defendant that a complaint was filed by letter dated May 17, 2012, a true and

accurate copy of which is attached hereto as Exhibit E.

       13.     Following the filing of the lawsuit, the undersigned agreed to participate in a

previously scheduled follow-up teleconference with prospective mediator 1. Birch Bowdre. In

response, Attorney Qualiana, in an email dated May 18, 2012, stated "since your client has

chosen to place this dispute before the court, future communications will have to be through the

judicial process." A true and accurate copy of said email exchange is attached hereto as Exhibit

F.

       14.     On May 22, 2012, the undersigned received an email from Attorney Ekonomou

advising that ACLJ National's funding to ACLJ Northeast were not being disbursed to ACLJ

Northeast but instead being placed into the trust account ofMr. Ekonomou's law firm, The

Lambros Firm, LLC. A true and accurate copy of said email is attached hereto as Exhibit G.

       IS.     Following the appearance of Attorney Frank Coulom on behalf of Defendants, the

undersigned, in a telephone call, informed Mr. Coulom that we would advise our client to go to

mediation so long as Defendants wonld restore its funding to Plaintiff. In a subsequent telephone

eall, Mr. Coulom advised that his client was not willing to restore the funding.

       16.     In response to the Court's Order to Show Cause dated June 5, 2012, Mr. Coulom

advised the undersigned that they were willing to use Mr. Birch Bowdre in connection with the

Court's directive to locate a potential arbitrator/mediator. In response, the undersigned sent two




                                                 4
emails, attached hereto as Exhibit H, inquiring whether Defendants would continue to insist on a

50/50 split of the arbitrator/mediator's costs and fees. As of the date of this affidavit, Defendants

have not provided an answer to this question. Additionally, before the Court's Order to Show

Cause, the undersigned had proposed a local attorney to Mr. Coulom to assist the parties in

mediation.




       I have read the foregoing and it is true and accurate to my best recollection, information,

       and belief.



                                              William G. Madsen




                                                  5
EXHIBIT A
                        THE LAMBROS FIRM, LLC
                                  ATTORNEYS AT LAW
                                 12BOTHE PEACHTREE
                               1355 PEACHTREE STREET

                            ATLANTA, GEORGIA 30309

                               TELEPHONE; (404) 221·1000
                                TELEFAX: (404) 577-3900
                              wwwthelambr'osfirm.com




                                April 2, 2012


VIA ELECTRONIC MAIL (wmadsen@mppjustice.com)
Mr. William G. Madsen
Madsen, Prestley & Parenteau, LLC
44 Capitol Avenue, Suite 201
Hartford, Connecticut 06106

      RE:   American Center for Law and Justice NationallVincent McCarthy
            and American Center for Law and Justice Northeast

Dear Mr. Madsen:

      This is in response to your correspondence dated March 28, 2012,

       It should be noted at the outset that we disagree with the arguments you have
raised regarding the arbitrability of claims ACLJ Northeast or Mr. McCarthy may
have against ACLJ National. However, we do not think it would be productive to
detail the grounds for that disagreement here. Suffice it to say that ACLJ National
is confident that any claims your clients may have arising out of the non-renewal
of the ACLJ Northeast Grant Agreement must be arbitrated under the plain terms
of the Grant Agreement between ACLJ National and ACLJ Northeast.

      Nevertheless, we would not rule out mediation provided that certain
understandings about the scope and parameters of the process are agreed upon. By
way of illustration, we would want all the claims and issues that your clients
purport to have against ACLJ National to be on the table and subject to mediation.
For example, and subject of course to the ultimate decision of the client, we would
need to talk about who would assume the role of counsel in the Enfield case. We
would require that as part of the disassociation between ACLJ and "ACLJ
Northeast," Vince McCarthy cease usage of the name "ACLJ" and of any
Mr. William G. Madsen
April 2, 2012
Page 2

advertising or promotional materials that would suggest an affiliation. In that
regard, we would insist that Mr. McCaIihy take affirmative measures consistent
with applicable law in the State of Connecticut to change the name of his
organization so as to delete any reference to ACLJ. We would need to discuss the
process for selecting a mutually-agreeable, Christian-principled mediator, a
reasonable timetable for holding the mediation, aI1d the place where the mediation
would take place.

      If you are aInenable to and wish to address such basic ground rules as these
and to engage in a dialogue that might set us on the way to resolving the issues
before us, we are prepared to participate in a conference call with you on
Thursday, April 5, 2012 at 2:00 p.m. to begin the process of arriving at a
fi'amework for mediation. Please let me know if you are available at that time.

                                      Sincerely,


                                ~ «~~~~"--"-1
                                      A1','DREJJ. EKONOMOU


AJE/pf
cc: Mary Qualiana, Esq.
EXHIBIT B
William Madsen

From:                 Andrew Ekonomou <aekonomou@thelambrosfirm.com>
Sent:                 Friday, April 06, 2012 11:37 AM
To:                   William Madsen
Cc:                   Qualiana, Mary
Subject:              ACLJNincent McCarthy



Will:

       Your client has asked ACLJ(National) to participate in a mediation of various issues
arising from the Grant Agreement and otherwise. We agreed to do so, and yesterday we began
discussions toward arriving at a mediation framework. One of the issues that came up was the
costs of mediation. ACLJ (National) believes that it is fair and equitable for both sides to share
equally in the costs of the mediation. We therefore will pay half of the mediator's fees, costs
and expenses. As St. Paul said, "Our desire is not that others might be relieved while you are
hard pressed, but that there might be equality." (2 Corinthians 8:13) We are amenable to
continuing further discussions with you about mediation if you wish. Let me know.

Andy Ekonomou

Andrew J. Ekonomou
The Lambros Firm, LLC
1280 The Peachtree
1355 Peachtree Street, N.E.
Atlanta, GA 30309
(W) 404-221-1000
Fax 404-577-3900
aekonomou@TheLambrosFirm.com

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EXHIBIT C
                                      WHITELAW LEGAL GROUP
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jENN1FER L. VVHlTELA.W, A'TTORNE,"Y
emaiL jti.whitelawfirm.com




VIA EMAIL ONLY

April 27, 2012

Wiliiam G. Madsen, Esquire
Madsen, Prestley & Parenteau, LLC
44 Capitol Avenue, Suite 201
Hartford, Connecticut 06106

                   Re: ACLJ Trademark MatterslVincent McCarthy

Dear Mr. Madsen:

This firm represents the American Center for Law and Justice, Inc ("ACLJ") and we
write to you in referenoe to our olient's federally protected trademark portfolio, which as
you know includes the ACLJ mark. Our client is also the owner of ali right, title and
interest in and to the following marks,

    •    United States Trademark Registration No. 1751700 for THE AMERICAN
         CENTER FOR LAW AND JUSTICE, a mark which has beoome, by operation of
         federal statutory law, incontestable.
    •    United States Trademark Registration No. 2844642 for ACLJ, a mark Which has
         become, by operation of federal statutory law, incontestable.
                                                                                       .. .
    •    United States Trademark Registration No. 2844642 for ~?~,
         a design mark which has become, by operation of federal statutory law,
         incontestable.
                                                                                     .. •• * "'
                                                                                 •                •
    • United States Trademark Registration No. 3366554 for~?~
among many others marks, including designs and related imagery (hereinafter the
"ACLJ Family of Marks").

As one can imagine, throughout the years and at its considerable expense, ACLJ has
created and extensively used certain vaiuabie designations of origin which distinguish
William G. Madsen, Esquire
April 27, 2012
Page 2



our client above all others in the fleid, and which also educate the publ"ic as to the
unique source of the ACLJ services and goods, The law places a legal burden on our
client to guard and enforce these rights.

As you are aware, over the years, our respective clients had a working relationship, In
furtherance of that, the ACLJ granted permission to your clieni to use the mark I\CLJ in
connection with the offering of very specific kinds of legal services rendered oniy by Mr.
McCarthy In conjunction with ACLJ attorneys, and then only In accordance with the high
quality standards and controls of OUf client.

Since the legal services which have In the past been offered by your cilent pursuant to
tllis permission have now concluded, we write simply to confirm to that the permission
previously granted as to use of the ACLJ mark, or any other mark within the ACLJ
Family of Marks, has now been terminated, Accordingly, and so as to avoid any
confusion as to source or origin of any good or service offered under any of the ACLJ
Family of Marks, your client is required to fuliy cease and desist from all useof the
ACLJ Marks in any manner including all uses, suggestion of sponsorship or affiliation,
whether 'In print, broadcast, electronic, Internet, corporate names, fictitious names, or
Internet domain names, or otherwise, whether In offering actual goods or services, or
fund raising therefor, or for any other activity.

At your request, our client is also very happy to grant a winding down period to allow for
the complete cession of use, up to thirty (30) days fmm the above date of this
correspondence,

Having now been apprised of this matter, we trust that your client is In agreement to act
in accordance with the notice given by this letter, however If that is not the case, please
notify us immediately.

Thank you for your attention to this very important matter.



                                                 Sincerely,




                                                 Jennifer L. Whitelaw
cc:    client
       Andrew J, Ekonomou
       Mary K. Qualiana
EXHIBIT 0
                       THE LAMBROS FIRM, LLC
                                  ATTORNEYS AT LAW

                               1355 PEACHTREE STREET
                                      SUiTE 1280

                           ATLANTA, GEORGIA 30309

                               TELEPHONE: (404) 221-1000
                                TELEFAX: (404) 577-3900
                              www.thelamb-rosnrm.com



                                       April 30, 2012


Dr. John Gallacher, Superintendent
Enfield Public Schools
27 Shaker Road
Enfield, CT 06082

      RE:   Does 1 through 5 ]I, Enfield Public Schools
            Case No.3: 10-cv-00685
            U.S. District Court for the District of Connecticut, New Haven
            Division

Dear Dr. Gallacher:

     This finn is General Counsel to the American Center for Law and Justice
("ACLJ").

       The purpose of this letter is to provide notice to the Enfield Public Schools
("School Board') that several of the lawyers working on the above-referenced
lawsuit (Larry Crain, Vincent McCarthy and Ann Louise McCarthy) will no longer
be affiliated with ACLJ. It is our understanding, however, that these individuals
are willing to continue to provide representation to the School Board in this matter.
If you have not yet discussed this with them, we recommend that you do so, We
would appreciate it if you would confirm to us that these counsel will continue to
represent the School Board,

        We would also ask that you consent to the withdrawal of any other ACLJ-
affiliated attorneys who may have entered an appearance in this case as counsel for
the School Board. Upon receipt of your consent, we will prepare and file the
appropriate motion to withdraw with the court.
Dr. John Gallacher
April 30, 2012
Page Two


      You should also be aware that with this change in representation, the ACLJ
will no longer undertake to fund the defense of the litigation. The School Board
will need to make separate arrangements with Messrs. Crain and McCarthy and
Ms. McCarthy, assuming they are going to remain your lawyers, regarding the
payment of costs and any attorney's fees they may charge.

      We wish the School Board success in this case and we appreciate the
opportunity to have represented you.




AJE/pf
cc: Larry Crain, Esq.
     William Madsen, Esq.
     Mary Qualiana, Esq.
     Stuart Roth, Esq.
EXHIBIT E
                                                                                                            ,I~



MADSEN, PRESTLEY                           {5   PARENTEAU, LLC
Representmg Individuals in Employment and Benifds Law and Litzgation
                                                                                       Attorneys. At Law
                                                                                 Hartford_ New London

May 17,2012
                                                                             44 Capitol Avenue, Suite 201
                                                                             Hartford, Connecticut 06106
                                                                               Telephone: (860) 246-2466
                                                                                Facsimile: (860) 246-1794

                                                                                  William G. Madsen
                                                                            wmadsen@mppjustice,com
PERSONAL AND CONFIDENTIAL

VIA REGULAR MAIL
AND ADVANCE EMAIL

Mary K Qualiana
Dow Lohnes, PLLC
1200 New Hampshire Avenue, NW
Suite 1800
Washington, DC 20036


                       Re:     ACLJ Northeast v, ACLJ National

Dear Mary:

      Please be advised that we have commenced suit against Mr. Jay Sekulow and the
American Center for Law and Justice, National.

         You may recanthat some time ago, during our initial conversations in February, I
expressed a desire on my client's behalf to enter into settlement discussions with your client. In
subseq1;lent discussions, you expressed receptivity to the concept and it appeared that a path Was
established that could lead the parties to an amicable resolution. You indicated at that time that
any potential resolution would have to incl1;lde an agreement with respect to my client's
continued use of the name American Center for Law and Justice, Northeast. On behalf of my
client, r agreed to include that item as a term addressed in a potential resolution, However, I also
stressed that time was of the essence as my client wanted to move this process along as quickly
as possible,

        Following those early, conciliatory discussions, you and Mr. Ekonornou very clearly
demonstrated the following: (l) an unwillingness to expedite a settlement negotiation, (2) a
refusal to enter into a more equitable cost shal'ing arrangement with respect to the cost of a
mediator, (3) a refusal to conduct the mediation in COlmecticut, Nevertheless, in the interests of
keeping the prospect for an amicable resolution alive, my client backed clown on each of those
PERSONAL AND CONFIDE]         XL

Mary J. Qualiana
May 17, 2012
Page 2



points and it appeared that we were headed toward mediation within the format of Christian
conciliation.

        Regrettably, your client has since undertaken 811 outrageous course of conduct which we
can only conclude communicates no real or sincere desire to resolve this dispute amicably. First,
a "cease and desist" letter was sent to us with respect to the n81ne of my client's business,
demanding that he somehow rename his corporation before the mediation took place. Mr.
Ekonomou then stated to me, contrary to your initial statements to me, that my client's continued
use of the name "American Center of Law and Justice, Northeast" and "ACLJ, NOltheast" would
not be palt of 811Y settlement discussions and he had to abandon use of the teJ111S in quick fashion
"or else." Mr. Ekonomou then, despite my strong objections communicated during a
teleconference, directly contacted a client of Mr. McCa1ihy and Aun Louise Lohr in an
unauthorized ex parte fashion for the clear purpose of interfering with their representation of this
client. In all my years of practice, I have never witnessed anything like this.

        Then, when the parties had earlier agreed to keeping the period of June 15 through the
  th
30 open for mediation, Mr. Ekonomou recently alU10unced that the first week of this period was
no longer available. Given the consistent patterns of delay which have heretofore taken place,
we have no doubt that the last week of June will soon be gone and we will be facing yet further
inexcusable delays. As I stated in earlier communications, if the parties to any dispute are jointly
desirous of entering into a mediation, arrangements can always be made to line up a mediator
811d a date within thirty days, even if it means rescheduling other commitments. It is abundantly
clear at this point that resolution of this dispute is simply not a priority at all for ACLJ National.
And in light of all that has taken place, we also question whether ACLJ National ever sincerely
intended to enter into good faith settlement negotiations.

        We regret that Christian conciliation could not be undertaken in this matter at this time. I
hope you can appreciate that the threatening, intimidating and outrageous tactics utilized by your
client have left us no alternative but to undertake steps to protect our client's interests.

      I understand that you will sh81'e this communication with appropriate officials at the
ACLJ National and with Mr. Sekulow.




Cc:     Vincent P. McCarthy
        Mr. Ekonomou
EXHIBIT F
William Madsen

From:                           Qualiana, Mary <mqualiana@dowlohnes.com>
Sent:                           Friday, May 18, 2012 10:38 AM
To:                             William Madsen; Andrew Ekonomou
Subject:                        RE: ACLJ NE/Enfield Schools retainer agreement


Since your client has chosen to piace this dispute before the court, future communications will have to be through the
judicial process.

Mary K. Qualiana
Attorney at Law
Q     DQlNLonnes PUC
1200 New Hampshire Avenue, NW Suite 800
Washington, DC 20036-6802
T 202-776-2616
M 202-271-2753
F 202-776-4616
E mqualiana@dowlohnes.com
wvvw.dowlohnes.com


Thi...<> messagefrom the lawf'irm ofDow Lohnes PLLC may contain confidential or privileged information. I.(You receiued this
tl·unsmi....,..ion in error, please callus immediately at' (20.2)776~2000 or coniact us by E~mail at admin@dowlolmes.com. Disclosure or usc
ofany part of this message by persons other than the intended recipient is prohibited.




From: William Madsen [mailto:wmadsen@mppjustice.com]
Sent: Friday, May 18, 2012 10:26 AM
To: Andrew Ekonomou; Qualiana, Mary
Subject: RE: ACU NEjEnfield Schools retainer agreement

I am still available to speak if you would like to do so. Let me know, Will
EXHIBIT G
William Madsen

From:                 Andrew Ekonomou [aekonomou@thelambrosfirm.com)
Sent:                 Tuesday, May 22,20124:14 PM
To:                   William Madsen
Cc:                   'mqualiana@dowlohnes.com'
Subject:              ACLJ Payment to ACLJINE


      Please take notice that ACLJ's next payment to the entity "ACLJINE" in the amount of
$12,109.17, as well as any subsequent payments under the Inter-Organizational Pledge and
Grant Agreement, will be made to the trust account of The Lambros Firm, LLC to be held there
pending the conclusion of the dispute that has arisen between the two entities.

Andrew J. Ekonomou
The Lambros Firm, LLC
1280 The Peachtree
1355 Peachtree Street, N.E.
Atlanta, GA 30309
(W) 404-221-1000
Fax 404-577-3900
aekonomou@TheLambrosFinn.com

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http://v.,rww.thelambrosfirm.com
EXHIBIT H
William Madsen

From:                       William Madsen
Sent:                       Saturday, June 09, 2012 3:04 PM
To:                         Coulom, Frank
Cc:                         Qualiana, Mary (mqualiana@dowlohnes.com); Andrew Ekonomou; Todd Steigman
Subject:                    FW: arbitration


Frank, when we spoke by telephone you indicated that you would be getting back to me on this. We are attempting to
comply with the Judge's Order but i do think this is an important component given that ACU Northeast has been cut off
from funding and has very limited resources. As I am sure you are aware, your client has been very clear in its position
that any proceeding pursuant to Christian conciliation would necessitate a 50/50 split on the costs of
arbitration/ mediation.

I look forward to your prompt response. Will


From: William Madsen
Sent: Thursday, June 07, 2012 1:41 PM
To: Coulom, Frank
Cc: Qualiana, Mary (mgualiana@dowlohnes.com); Andrew Ekonomou; Todd Steigman
Subject: arbitration

Frank-following up on our conversation regarding Birch Bowdre as a potential "mediator/arbitrator," please let me
know whether your client continues to take the position that all fees and costs billed by an arbitrator are to be split
equally (50/50) by the parties.

Thank you for your prompt attention to this inquiry.

Will




                                                             1
